                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

UNITED STATES OF AMERICA,                        )
                                                 )
              Plaintiff,                         )
                                                 )
v.                                               )      No.:   3:10-CR-167-TAV-CCS
                                                 )
JERMETRIUS TURNER,                               )
                                                 )
              Defendant.                         )


                      MEMORANDUM OPINION AND ORDER

       This criminal case is before the Court on the defendant’s motion to withdraw his

guilty plea [Doc. 123], to which the government responded in opposition [Doc. 146].

The Court held a hearing on the matter, and after careful consideration of the motion, the

parties’ positions, and the relevant law, the Court hereby denies the motion.

I.     Background

       On December 7, 2010, the defendant was charged by indictment with four counts:

(1) conspiracy to possess with intent to distribute cocaine base, also known as “crack,”

and cocaine; (2) aided and abetted by another, possession of firearms in furtherance of a

drug trafficking crime, that is, count one of the indictment; (3) aided and abetted by

another, obstruction of commerce by robbery; and (4) aided and abetted by another,

brandishing and discharging firearm during and in relation to a crime of violence, that is,

count three of the indictment [Doc. 3].         The defendant’s initial appearance and

arraignment was on July 7, 2011, at which time the defendant waived and reserved his




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right to a detention hearing [Doc. 30]. The trial was originally set for September 14,

2011 [Id.].

       On August 24, 2011, the defendant filed a pro se motion to substitute counsel,

asserting a conflict with his attorney [Doc. 45]. Counsel correspondingly filed a motion

to withdraw [Doc. 46]. On August 30, 2011, the motion was heard by the magistrate

judge, who denied the motion as moot [Doc. 48]. Upon ruling on that motion, the trial

was reset for January 31, 2012 [Id.].

       Subsequently, counsel for defendant filed a motion for a mental evaluation of the

defendant [Docs. 53, 57]. The magistrate judge heard argument on the motion and

denied the motion in a sealed order [Doc. 60]. The defendant objected to that order, but

Judge Phillips, the district judge originally assigned to this case, affirmed the magistrate

judge’s order on January 3, 2012 [Doc. 62].

       On January 17, 2012, the defendant filed a second pro se motion for new counsel

[Doc. 65]. The magistrate judge conducted a hearing on the motion on January 20, 2012,

and denied it [Docs. 69, 71]. That same day, the government filed a plea agreement

signed by the government, the defendant, and the defendant’s counsel [Doc. 68].

Pursuant to the plea agreement, the parties agreed that the defendant would plead guilty

to count three and count four in consideration of the government moving the Court to

dismiss counts one and two at the time of sentencing. Among other things, the parties

also agreed that a sentence of 240 months’ imprisonment and a five-year term of

supervised release is the appropriate disposition of this case. The defendant formally

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changed his plea at a hearing before Judge Phillips on January 23, 2012 [Doc. 70; see

also Doc. 98].

      On March 27, 2012, a Presentence Investigation Report was prepared by the

United States Probation Officer and disclosed to the parties. While counsel for the

defendant filed a notice of no objections to the report [Doc. 78], the defendant filed

several pro se objections to the report. Counsel for the defendant also filed a sentencing

memorandum [Doc. 80] and letters of support [Doc. 79; see also Docs. 77, 81].

      Prior to the sentencing hearing, on May 16, 2012, the defendant filed yet another

pro se motion for new counsel [Doc. 82]. Counsel correspondingly filed a motion to

withdraw [Doc. 83]. The motions were referred to the magistrate judge, who, on May 31,

2012, granted the motions and appointed Bradley Henry as counsel for the defendant

[Docs. 87, 88]. Between the filing of the motions concerning counsel and the time the

magistrate judge ruled on the motions, on May 22, 2012, the defendant filed a pro se

motion to withdraw his plea of guilty [Doc. 86]. On July 30, 2012, the defendant’s new

counsel also filed a motion to withdraw the plea of guilty along with a request for an

evidentiary hearing [Doc. 91]. However, on August 14, 2012, the defendant’s counsel

filed a motion to withdraw the motions to withdraw the guilty plea, along with an

affidavit of the defendant stating he requests that the motion to withdraw the guilty plea

be withdrawn [Doc. 100]. The magistrate judge granted the motion to withdraw the

motion to withdraw the guilty plea and denied the motions to withdraw the guilty plea as

moot [Doc. 102].

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       The sentencing hearing was continued multiple times but was ultimately set for

May 10, 2013. Prior to the hearing, both counsel for the defendant and the government

filed sentencing memorandums [Docs. 108, 113].            At the sentencing hearing, the

defendant again requested to withdraw his plea [Doc. 116]. The Court ordered the

defendant to file a motion and brief the issue and then reset the sentencing hearing [Id.].

       Counsel for the defendant filed a motion to withdraw the plea of guilty as well as a

request for an evidentiary hearing regarding the defendant’s competency [Doc. 123]. On

June 27, 2013, Judge Phillips found sufficient cause to request a more thorough

examination of the defendant’s mental health and that a psychological evaluation would

be in the defendant’s best interest [Doc. 130]. Shortly thereafter, because of Judge

Phillips taking inactive senior status, this case was reassigned to the undersigned for all

further proceedings [Doc. 133].

       The magistrate judge conducted a hearing regarding the defendant’s competency

on October 30, 2013, thereafter finding the defendant competent [Docs. 141, 144]. As a

result, the Court set the motion to withdraw the plea of guilt for a hearing.            The

government then responded to the motion to withdraw the plea of guilty [Doc. 146].

       At the hearing on December 3, 2013, the government presented the testimony of

the defendant’s original attorney, Leslie Jeffress, and both parties presented argument in

support of their respective positions. The Court took the matter under advisement and

now issues this memorandum opinion and order denying the defendant’s request to

withdraw his guilty plea.

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II.     Analysis

        A.    Standard for Withdraw of Guilty Plea

        Rule 11(d) of the Federal Rules of Criminal Procedure provides that “[a]

defendant may withdraw a plea of guilty . . . after the court accepts the plea, but before it

imposes sentence if . . . the defendant can show a fair and just reason for requesting the

withdraw.” Fed. R. Crim. P. 11(d). Even so, “[a] defendant does not have an absolute

right to withdraw a guilty plea.” United States v. Ellis, 470 F.3d 275, 281 (6th Cir. 2006)

(citations omitted).

        Rule 11(d) is designed “to allow a hastily entered plea made with unsure heart and

confused mind to be undone, not to allow a defendant ‘to make a tactical decision to enter

a plea, wait several weeks, and then obtain a withdrawal if he believes that he made a bad

choice in pleading guilty.’” United States v. Alexander, 948 F.2d 1002, 1004 (6th Cir.

1991) (citation omitted); see also United States v. Dixon, 479 F.3d 431, 436 (6th Cir.

2007). A defendant seeking withdrawal of a plea of guilty carries the burden of proving

that withdrawal is justified, and the matter is left to the discretion of the court. Id. at

1003 (citation omitted).

        In United States v. Bashara, the Sixth Circuit gave a non-exclusive list of factors

that should guide a district court in determining whether to allow a defendant to withdraw

his guilty plea: (1) the amount of time that elapsed between the plea and the motion to

withdraw it; (2) the presence or absence of a valid reason for the failure to move for

withdrawal earlier in the proceeding; (3) whether the defendant has asserted or

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maintained his innocence; (4) the circumstances underlying the entry of the guilty plea;

(5) the defendant’s nature and background; (6) the degree to which the defendant has

prior criminal experience with the criminal justice system; and (7) potential prejudice to

the government if the motion to withdraw is granted. 27 F.3d 1174, 1181 (6th Cir. 1994),

superseded by statute on other grounds as recognized in United States v. Caseslorente,

220 F.3d 727, 734 (6th Cir. 2000); see also Ellis, 470 F.3d at 281 (citing and applying the

Bashara factors); United States v. Valdez, 362 F.3d 903, 912 (6th Cir. 2004) (applying

the factors discussed in Bashara). No one factor is controlling, and the government need

not establish prejudice “unless and until the defendant advances and establishes a fair and

just reason for allowing the withdrawal.” United States v. Goddard, 638 F.3d 490, 495

(6th Cir. 2011) (citation omitted).

       B.     Application of the Bashara Factors

              1.     Time Between Plea and Motion & Presence or Absence of a
                     Valid Reason for Failure to Move for Withdrawal Earlier in
                     Proceeding

       The defendant pleaded guilty on January 23, 2012. He moved to withdraw that

that plea pro se on May 22, 2012 [Doc. 86], and his second attorney, who was appointed

on May 31, 2012, moved to withdraw the plea on July 30, 2012 [Doc. 91]. Those

motions were later withdrawn by motion of counsel on August 14, 2012 [Doc. 100]. On

May 10, 2013, the defendant again moved to withdraw his plea at his sentencing hearing

[Doc. 116], and that oral motion was followed up with a written motion on June 17, 2013

[Doc. 123]. Hence, the time between the plea of guilty and the defendant’s first motion

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to withdraw that plea was 120 days and the time between the plea of guilty and the

defendant’s oral motion to withdraw that plea at the sentencing hearing was 473 days.

      Given this timeline, the Court finds that the factor pertaining to the time between

the plea and the motion to withdraw weighs heavily against the defendant. Even if the

Court were to consider only the time between the plea and the first motion to withdraw

that plea, the Sixth Circuit has denied motions to withdraw guilty pleas because of delays

far shorter than 120 days. See, e.g., Valdez, 362 F.3d at 912–13 (addressing a 75-day

delay); United States v. Durham, 178 F.3d 796, 798-99 (6th Cir. 1999) (addressing a 77-

day delay); United States v. Baez, 87 F.3d 805, 808 (6th Cir. 1996) (addressing a 67-day

delay); United States v. Goldberg, 862 F.2d 101, 104 (6th Cir. 1988) (addressing a 55-

day delay); United States v. Spencer, 836 F.2d 236, 239 (6th Cir. 1987) (addressing an

approximately 35-day delay). But that is not even the relevant time frame because the

defendant withdrew his initial motion and did not move to withdraw his plea again until

his sentencing hearing, which was over a year after his guilty plea. Moreover, the

defendant has not provided any reason for failing to move to withdraw his plea any

earlier than he did, and to the extent the defendant relies upon any incompetency, the

magistrate judge determined the defendant is competent [See Doc. 144].

             2.    Defendant’s Innocence, Circumstances Underlying the Entry of
                   the Guilty Plea & the Defendant’s Nature and Background

      The defendant signed a plea agreement in which he agreed to plead guilty to

counts three and four—count three charged the defendant with, aided and abetted by

another, obstructing commerce by robbery and count four charged the defendant with,
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aided and abetted by another, brandishing and discharging firearm during and in relation

to a crime of violence, that is, count three—but it appears that the defendant has

maintained his innocence with respect to counts one and two—the drug conspiracy and

related firearms charges. Indeed, the government agreed, as part of the plea agreement,

to dismiss counts one and two at the time of sentencing.

       The parties signed the plea agreement on January 20, 2012, after exchanging

discovery and preparing for trial, and the defendant formally changed his plea in open

court on January 23, 2012. During that change of plea hearing, Judge Phillips asked the

defendant, after the government set forth the charges and the factual basis for the charges,

whether he agreed with the government’s statement:

              The Court: Do you agree that that’s what you did?

              Mr. Turner: No.

              The Court: Okay. What do you disagree with?

              Mr. Turner: Some facts in there. But don’t matter so continue,
              please.

              The Court: Okay. Do you agree that you attempted to rob the
              individuals named in the indictment?

              Mr. Turner: Knowingly or did I?

              The Court: Did you?

              Mr. Turner: Yes, sir.

              The Court: Okay. And do you agree that you had a weapon during
              the course of that crime?

              Mr. Turner: Yes, sir.
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              ....

              The Court: Do you understand what you’re pleading guilty to, Mr.
              Turner?

              Mr. Turner: Yes, sir.

              The Court: Are you pleading guilty because you are, in fact, guilty?

              Mr. Turner: Yes, sir.

[Doc. 98].

       At the hearing on the pending motion, defense counsel asserted that this colloquy

does not indicate whether the defendant knowingly pleaded guilty because Judge Phillips

did not accurately convey the law regarding the interstate commerce element of count

three, referencing United States v. Wang, 222 F.3d 234 (6th Cir. 2000). Even assuming

this as true, the defendant later filed an affidavit along with his motion to withdraw his

initial motion to withdraw his guilty plea stating that he understood the charges against

him, the consequences of pleading guilty, and the terms of the plea agreement [Doc. 100-

1]. Thus, to the extent the defendant did not knowingly enter his plea at the time of his

change of plea hearing, that unknowingness was mitigated by his affidavit.

       In examining the circumstances underlying the entry of the guilty plea, the Court

also considers the defendant’s intelligence, sophistication, and understanding of the plea.

See Ellis, 470 F.3d at 285 (finding that the factor related to the defendant’s nature and

background supported denial of defendant’s motion to withdraw plea because the record

indicated that the defendant understood what he was doing when he entered his guilty

plea). The Court, without discussion here, takes into account the sealed documentation
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concerning the defendant’s background, including documentation submitted in

connection with his competency evaluation and his Presentence Investigation Report.

The Court has also reviewed the transcript of the change of plea hearing, and notes that

Judge Phillips properly advised the defendant of his constitutional rights and that there is

evidence on the face of the transcript that the defendant comprehended the consequences

of the proceedings [See, e.g., Doc. 98 (indicating the defendant inquired about and came

to understand the meaning of Rule 11(c)(1)(C) as well as the fact that pleading guilty

could subject him to enhanced penalties with respect to any future charges)]. Thus, the

factor pertaining to the circumstances surrounding the entry of the guilty plea weigh

against granting the motion. See id. at 280 (“‘When a defendant has entered a knowing

and voluntary plea of guilty at a hearing at which he acknowledged committing the

crime, the occasion for setting aside a guilty plea should seldom arise.’” (citation

omitted)).

              3.     The Defendant’s Experience with Criminal Justice System

       Relevant to this factor is whether a defendant is “a novice” to or “familiar with”

the criminal justice system. Spencer, 836 F.2d at 240 (quoting United States v. Kirkland,

578 F.2d 170, 171–72 (6th Cir. 1978)). The government conceded at the hearing that

the defendant is young and does not have extensive experience with the adult criminal

justice system, but correctly points out that the defendant does have extensive experience

with the juvenile criminal justice system, including convictions for possession of cocaine




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and strong-armed robbery. Thus, consideration of this factor counsels against granting

the motion.

              4.     Potential Prejudice to the Government

       The Court need not consider this factor unless a defendant establishes a fair and

just reason for vacating the plea. Goddard, 638 F.3d at 495. Given the Court’s analysis

of the factors above, the Court finds that the balance of the factors weigh against allowing

the defendant to withdraw his guilty plea. Put differently, the Court finds the defendant

has not presented a fair and just reason for vacating his plea. Thus, the Court need not

consider potential prejudice to the government.

       In any event, the potential prejudice to the government bolsters the Court’s

determination. This case was two and a half years old at the time the defendant moved to

withdraw his plea and the defendant pleaded guilty days before trial. The government

was prepared to proceed to trial at that time and it is possible that witnesses will now be

unavailable or have difficulty recalling relevant events.

III.   Conclusion

       For the reasons stated herein, the Court finds the defendant has not presented a fair

and just reason for withdrawing his guilty plea. Thus, the defendant’s motion [Doc. 123]

is hereby DENIED. This matter is hereby RESCHEDULED for sentencing on Friday,

March 14, 2014, at 10:00 a.m.

       IT IS SO ORDERED.

                                   s/ Thomas A. Varlan
                                   CHIEF UNITED STATES DISTRICT JUDGE
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